                                                                     THIS ORDER IS APPROVED.


                                                                     Dated: February 3, 2020


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 2                                                                   Scott H. Gan, Bankruptcy Judge

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 9                         IN THE UNITED STATES BANKRUPTCY COURT

10                                  FOR THE DISTRICT OF ARIZONA

11   In re:                                             Chapter 13 Proceedings

12   JAMES ANTHONY HIGUERA                              Case No: 2:20-bk-01061-SHG

13                  Debtor.                             ORDER SETTING ACCELERATED
                                                        HEARING ON MOTION FOR
14                                                      EXTENSION OF THE AUTOMATIC
                                                        STAY
15
              IT IS ORDERED setting an Accelerated Hearing on Debtors’ Motion for Extension of the
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     Automatic Stay on February 24, 2020 at 2:00 pm, before the Honorable Scott Gan Judge of the
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     U.S. Bankruptcy Court, 230 N 1st Avenue, Phoenix, AZ 85003, Courtroom 301 and appearances
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     also available at James A. Walsh Federal Courthouse, 38 S. Scott Avenue, Courtroom 329, Tucson,
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     AZ 85701. Debtors shall immediately serve this order on all interest parties and file a certificate of
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     service.
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              IT IS FURTHER ORDERED any responsive pleadings must be in writing, filed with the
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     Clerk of the Court, and served upon the Trustee, by February 21, 2020 at 5:00 pm. The court may
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     accept evidence through declarations or verified pleadings and may vacate the hearing.
24
                                                           DATED AND SIGNED ABOVE
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Case 2:20-bk-01061-SHG          Doc 15 Filed 02/03/20
                                                  -1-  Entered 02/04/20 07:19:23                Desc
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